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   8                     UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
   9
  10   COSTAR GROUP, INC., and                CASE NO. 2:20-cv-08819-CBM-AS
       COSTAR REALTY INFORMATION,
  11   INC.,
                                              Assigned to Hon. Consuelo B. Marshall
  12                 Plaintiffs,              Hon. Alka Sagar, Magistrate Judge
  13        v.
                                              COSTAR’S NOTICE OF MOTION
  14   COMMERCIAL REAL ESTATE                 AND MOTION TO EXCLUDE
       EXCHANGE, INC.,                        OPINION FIVE OF ANDREW
  15                                          CRAIN; MEMORANDUM OF
                     Defendant.               POINTS AND AUTHORITIES IN
  16
       COMMERCIAL REAL ESTATE                 SUPPORT THEREOF
  17   EXCHANGE, INC.,
                                              Date: January 7, 2025
  18                 Counterclaimant,         Time: 10:00 a.m.
                                              Place: 8D
  19        v.                                Judge: Hon. Consuelo B. Marshall
  20   COSTAR GROUP, INC., and                Trial Date:     March 11, 2025
       COSTAR REALTY INFORMATION,
  21   INC.,
  22                 Counterdefendants.
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                                                                     CASE NO. 2:20-cv-08819-CBM-AS
                                              1                        COSTAR’S MOT. TO EXCLUDE
                                                                   OPINION FIVE OF ANDREW CRAIN
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   1 TO DEFENDANT AND ITS ATTORNEYS OF RECORD:
   2         PLEASE TAKE NOTICE that on January 7, 2025, at 10:00 a.m., or as soon
   3 thereafter as this matter can be heard, in the courtroom of the Honorable Consuelo
   4 B. Marshall, located at the First Street Courthouse, 350 W. 1st Street, Los Angeles,
   5 CA 90012, Courtroom 8B, Plaintiffs and Counterdefendants CoStar Group, Inc., and
   6 CoStar Realty Information, Inc. (collectively “CoStar”) will move for an order to
   7 exclude expert opinion number five and related testimony of Andrew Crain, a
   8 witness for Defendant and Counterclaimant Commercial Real Estate Exchange, Inc.
   9 (“CREXi”). CoStar respectfully requests such an order pursuant to Federal Rule of
  10 Evidence 702 and Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 592-94
  11 (1993).
  12         This Motion is supported by the accompanying Memorandum of Points and
  13 Authorities, the Declaration of Carly Grimes, Exhibits filed herewith, along with the
  14 arguments of counsel, the Court’s record on this matter, including all pleadings filed
  15 to date, and any other evidence or argument that the Court may consider in deciding
  16 this Motion.
  17         Compliance with Local Rule 7-3. This Motion is made following a meet-
  18 and-confer discussion with counsel on August 29, 2024. The parties were unable to
  19 resolve the issues raised by this Motion.
  20
  21                                             Respectfully submitted,
  22   Dated: September 9, 2024                  LATHAM & WATKINS LLP
  23                                             By: /s/ Nicholas J. Boyle
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   1 I.         INTRODUCTION
   2            In this litigation, CoStar alleges that CREXi committed mass copyright
   3 infringement by harvesting tens of thousands of CoStar-copyrighted photographs of
   4 commercial properties from CoStar’s LoopNet platform, in order to build CREXi’s
   5 competing property-listing website.          Dkt. 841 ¶ 2. Documents and testimony
   6 produced by CREXi have confirmed the willfulness of this infringement, revealing
   7 that CREXi and its agents frequently accessed CoStar’s LoopNet website to obtain
   8 commercial real estate photographs whenever they deemed necessary, and then
   9 cropped out CoStar’s watermark to cover their tracks, pursuant to a company-wide
  10 “copy and crop” policy. See, e.g., id. ¶¶ 10-12.
  11            To further assist the trier of fact in understanding the extent of CREXi’s access
  12 of LoopNet, CoStar proffered an expert witness, Daniel Roffman—who has over 20
  13 years of digital forensics experience—to identify and analyze records in CoStar’s
  14 LoopNet access logs that could be attributed to CREXi or its agents. Ex. 2 ¶¶ 1, 7.1
  15 Based on his review and analysis of these LoopNet logs (which are so voluminous
  16 that they require a specialized program to even open them), and using an IP address
  17 identification technique, among other methodologies, Mr. Roffman opines that
  18 CREXi associated sessions accounted for over 8 million hits to LoopNet between
  19 January 1, 2016 and April 28, 2023, and that indicators of CREXi are present in over
  20 31,000 LoopNet sessions. Id. ¶¶ 103, 105; Grimes Decl. ¶ 3.
  21            CREXi proffered Andrew Crain as a rebuttal expert to Mr. Roffman. CoStar
  22 does not dispute that Mr. Crain is generally qualified as an expert in digital forensics,
  23 and does not seek to exclude Mr. Crain’s Opinions 1-4, which consist of purported
  24 critiques of Mr. Roffman’s methodology and conclusions. See generally, Ex. 1.
  25 However, Mr. Crain’s fifth opinion—ostensibly a “rebuttal,” but in reality an
  26 affirmative opinion—should be excluded as irrelevant, unreliable, and unhelpful to
  27 the factfinder. Mr. Crain’s Opinion 5 attempts to quantify CoStar’s activity on
  28   1
           All exhibits cited herein are exhibits to the supporting declaration of Carly Grimes.
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   1 CREXi’s platform (a topic rendered even more irrelevant by the Court’s recent
   2 denial of CREXi’s motion for leave to amend to add counterclaims based on
   3 CoStar’s competitive intelligence scrape of publicly available content on CREXi’s
   4 website). Id. This opinion consists entirely of content inappropriate for an expert
   5 report.
   6         Specifically, Opinion 5 cites three data sources that purport to reflect access
   7 by CoStar to CREXi, yet Mr. Crain did not rely on any expertise to analyze, verify,
   8 or even interpret these sources—rather, Mr. Crain simply reports straightforward
   9 information about, for instance, the number of rows and the titles of columns in these
  10 spreadsheets. Each of these sources was compiled by CoStar or CREXi with no
  11 involvement from (and certainly not any verification by) Mr. Crain. In fact, Mr.
  12 Crain was unable to answer simple questions at his deposition about how these data
  13 sources were culled, why the access was attributable to CoStar, and whether any
  14 deduplication methods were applied to the data. Worse still, Mr. Crain admitted at
  15 his deposition that a fourth source of data—CREXi’s inbound access logs (i.e., logs
  16 comparable to the LoopNet logs analyzed by Mr. Roffman)—would be forensic
  17 evidence of CoStar’s access to CREXi’s website, yet he did not (i) consider that data,
  18 (ii) know whether it exists, or (iii) even think to ask for it. Ex. 6, Crain Dep. Tr. at
  19 170:12-171:2.
  20         Mr. Crain’s Opinion 5 is nothing more than lawyer argument about party-
  21 produced documents dressed up as an expert opinion. Even if it was somehow
  22 relevant to CoStar’s infringement claims, Opinion 5 would cause confusion by
  23 giving the spreadsheets, about which Mr. Crain reports basic information, unmerited
  24 credibility through their presentation via an expert. For these reasons, CoStar
  25 respectfully requests that the Court exclude Mr. Crain’s Opinion 5 and related
  26 testimony.
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    1 II.    BACKGROUND AND SUMMARY OF OPINION 5
    2        On March 19, 2024, CoStar served Mr. Roffman’s expert report.2 On April
    3 19, 2024, CREXi served Mr. Crain’s rebuttal report, which Mr. Crain subsequently
    4 amended on May 6, 2024. Ex. 1 (“Crain Report”). On May 24, 2024, Mr. Roffman
    5 served a supplemental report to address Mr. Crain’s Opinion 5, because the subject
    6 matter of Opinion 5 was outside the scope of Mr. Roffman’s affirmative report. On
    7 August 6, 2024, CoStar served amended versions of Mr. Roffman’s affirmative
    8 report, Ex. 2 (“Roffman Report”), and supplemental report, Ex. 3 (“Roffman
    9 Supplemental Report”) to address additional factual developments. CoStar deposed
   10 Mr. Crain on July 26, 2024.
   11        The Roffman Report analyzes CoStar’s LoopNet logs (voluminous,
   12 customized inbound access logs that track access to CoStar’s LoopNet website) to
   13 determine what records may be attributable to CREXi. Mr. Roffman applied his
   14 digital forensics expertise, an IP address identification methodology, and other
   15 investigative techniques and systematic processes to quantify the number of
   16 LoopNet sessions and “hits” (or records) that indicate access to LoopNet by CREXi
   17 or its agents. He also used various methodologies to attempt to eliminate from his
   18 conclusions any records relating to CoStar’s own access to LoopNet, third-party
   19 broker access to LoopNet, or indirect access through a LoopNet linked plugin that
   20 can appear on third-party websites. See Ex. 2, Roffman Report app. C (explaining
   21 Mr. Roffman’s methodology for requesting, analyzing, and culling access data). Mr.
   22 Roffman opined that the activity in the LoopNet sessions he associated with CREXi
   23 supports a conclusion that CREXi conducted an anonymous online campaign, and
   24 that it is highly likely that CREXi and its agents have accessed LoopNet beyond the
   25 activity highlighted in Mr. Roffman’s report. See, e.g., id. ¶¶ 117-18, 133
   26 (explaining use of VPNs supports conclusion that CREXi tried to make its LoopNet
   27
   28
        2
          CoStar served an amended version of this report on March 27, 2024, which
        corrected some minor errors on Mr. Roffman’s list of materials considered.
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    1 access difficult to trace), ¶¶ 128-133 (identifying LoopNet user accounts likely used
    2 by CREXi with hits to LoopNet not included in Mr. Roffman’s quantification of
    3 CREXi access to LoopNet).
    4         The Crain Report’s Opinions 1-4 constitute attempted rebuttal to the Roffman
    5 Report. In Opinions 1-4, Mr. Crain uses his own expertise in digital forensics to
    6 analyze the same data considered by Mr. Roffman and attempts to undermine
    7 attribution of LoopNet access to CREXi through analysis including IP address
    8 investigation and deduplication. See, e.g., Ex. 1, Crain Report ¶ 22 (using an IP
    9 address investigation tool to isolate mobile IP addresses). Mr. Crain also uses his
   10 expertise to explain the use of different technology used to access LoopNet, as
   11 reflected in the LoopNet logs, such as the use of VPNs and proxy servers. See, e.g.,
   12 id. ¶ 70. Though CoStar disagrees with aspects of Mr. Crain’s methodology and his
   13 conclusions in Opinions 1-4, CoStar is not seeking to exclude these opinions under
   14 Rule 702 or Daubert precedent.
   15         It is in Opinion 5 that Mr. Crain’s analysis becomes irrelevant and ceases to
   16 qualify as expert. In this opinion, Mr. Crain concludes that “Mr. Roffman fails to
   17 consider in his opinion CoStar’s own activity on CREXi’s platform, which was
   18 equally, if not more, extensive than the activity on LoopNet that he attributes to
   19 CREXi.” Id. ¶ 18. To start, the subject matter of Opinion 5 is irrelevant and not
   20 actually a rebuttal to Mr. Roffman’s opinions quantifying CREXi access to LoopNet.
   21 But more critically, Opinion 5 is not a conclusion that Mr. Crain reached by applying
   22 his expertise. Instead, Opinion 5 consists of straightforward recitals of numbers in
   23 three types of spreadsheets produced by the parties in this litigation.
   24         CoStar Outbound Logs Spreadsheet. Mr. Crain relies on a spreadsheet
   25 reflecting data from CoStar’s outbound access logs that was compiled and produced
   26 by CoStar in response to an interrogatory in this litigation. Id. ¶ 78 (citing Ex. 5,
   27 CoStar App. G). This spreadsheet reflects CoStar’s records of access to CREXi from
   28 the CoStar network for an approximately three-month period in 2020, listing access
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    1 date, web domain (e.g., crexi.com), and employee name. Id. ¶ 76. Mr. Crain
    2 summarizes this information as follows, without analysis:              “The outbound
    3 information that CoStar produced shows 7,418 instances of access to CREXi, by
    4 almost 800 different CoStar employees, in the span of 90 days, between July 8, 2020,
    5 and October 5, 2020.         Over that approximately three-month period, CoStar
    6 employees accessed CREXi from CoStar’s network an average of 82 times per day.”
    7 Id. ¶ 78.3 Mr. Crain qualifies this summary by claiming that he “cannot generate a
    8 complete analysis of CoStar’s activity on CREXi’s platform, comparable to Mr.
    9 Roffman’s analysis of CREXi’s activity.” Id. ¶ 76. At his deposition, Mr. Crain
   10 acknowledged that CREXi’s inbound access logs would be digital forensic evidence
   11 of CoStar’s access to CREXi’s website (and presumably, would be comparable to
   12 CoStar’s LoopNet logs analyzed by Mr. Roffman, which are a customized form of
   13 inbound access log). Ex. 6, Crain Dep. Tr. at 165:13-25, 167:16-21, 168:17-19. But
   14 Mr. Crain went on to testify that he did not (i) consider the CREXi inbound access
   15 logs, (ii) know whether they exist, or (iii) even think to ask for them. Id. at 170:12-
   16 171:2. When asked why not, Mr. Crain testified that “I guess I don’t recall, really.
   17 There was not some reason to not ask,” and “I don’t know. We just didn’t ask for
   18 that.” Id. at 164:25-165:7, 167:16-21. As a result, he, in his own words, “cannot
   19 generate a complete analysis … comparable to Mr. Roffman’s[.]” Ex. 1, Crain
   20 Report ¶ 76.
   21         CREXi Mixpanel Spreadsheet.         Mr. Crain next relies on a spreadsheet
   22 reflecting data from an application called Mixpanel that was compiled and produced
   23 by CREXi in response to an interrogatory in this litigation. Id. ¶ 80 (citing Ex. 4,
   24 CREXi’s App. G). When asked at his deposition what Mixpanel is, Mr. Crain
   25
   26  Mr. Crain also summarizes a similar spreadsheet produced by CoStar that reflects
        3

      access from the CoStar network to other third-party websites. In that summary, Mr.
   27 Crain simply filters one column in the Excel spreadsheet to de-select two website
      domains and then reports the remaining number of entries reflected in that
   28 spreadsheet. Ex.1, Crain Report ¶ 79. As with the CoStar Outbound Log
      Spreadsheet, any layperson with Microsoft Excel software can do the same.
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    1 testified that “it’s logging from a third-party product that CREXi uses to sort of gain
    2 insights about sort of user experience on their platform…. I don’t think I’ve worked
    3 with their data before…. It’s tracking, like, user events on the platform.” Ex. 6,
    4 Crain Dep. Tr. at 171:22-172:22. The Mixpanel spreadsheet shows certain events
    5 that took place on CREXi’s website, which were selected and filtered from a larger
    6 data set. When asked who culled the underlying Mixpanel data to create the
    7 Mixpanel spreadsheet, Mr. Crain testified that he “believe[d]” CREXi did so but “I
    8 just don’t know.” Id. at 175:5-13.
    9         Notwithstanding his unfamiliarity with the software that generated the data,
   10 or the way in which the data was compiled, Mr. Crain claims that this spreadsheet
   11 reflects “access on CREXi by individuals affiliated with CoStar, or from IP
   12 addresses that CoStar has identified as ones that it used, between January 6, 2016,
   13 and January 13, 2024” and that this data “shows that at least 117 CoStar-affiliated
   14 users visited CREXi on hundreds of occasions, and that their actions triggered more
   15 than 57,287 events on CREXi’s platform.” Ex. 1, Crain Report ¶ 80.
   16         When asked whether Mr. Crain did “anything to independently verify that
   17 [the Mixpanel spreadsheet], in fact, reflects access by CoStar people on the CREXi
   18 platform,” Mr. Crain testified that “I worked off of [the Mixpanel spreadsheet], as
   19 provided to me. So you are correct; I didn’t do independent verification of that.”
   20 Ex. 6, Crain Dep. Tr. at 186:2-8. Mr. Crain testified that he did not look at Mixpanel
   21 itself or perform any analysis on the full underlying Mixpanel data which he never
   22 saw, instead relying solely on the Mixpanel spreadsheet compiled by CREXi. Id. at
   23 174:18-175:9. Further, Mr. Crain did not know how many events CREXi tracks
   24 through Mixpanel for each visit to a single CREXi webpage (meaning he does not
   25 know whether a user visiting a single CREXi page would trigger one, five, or twenty
   26 events tracked by CREXi in Mixpanel). Id. at 173:10-174:7. Mr. Crain did not
   27 know what specific events logged in the Mixpanel spreadsheet meant and had not
   28 reviewed any Mixpanel documents explaining the meaning of events, despite
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    1 “hazarding a guess” that Mixpanel “probably has some documentation that goes with
    2 it.” Id. at 193:11-194:10. Mr. Crain testified that he did not need to know what
    3 specific events logged by Mixpanel meant because “the purpose of what I discuss
    4 about Mixpanel in my report is not at this level of granularity.” Id. at 193:20-195:3.
    5         CoStar Scrape Output Spreadsheets. Finally, Mr. Crain relies on a set of
    6 spreadsheets produced by CoStar reflecting the output of CoStar’s scrape of CREXi.
    7 Ex. 3, Roffman Supplemental Report ¶ 57. In March and April 2020, CoStar scraped
    8 CREXi’s website as part of a one-off competitive intelligence effort aimed at
    9 verifying public claims CREXi was making in its marketing materials. Id. ¶ 59.
   10 CoStar performed this scrape by making requests to CREXi’s public API, receiving
   11 the data returned from those requests on CREXi’s website, and outputting the data
   12 to spreadsheets, which CoStar produced to CREXi. Id. Mr. Crain opines that these
   13 spreadsheets indicate, cumulatively, that CoStar “scraped 70 million pieces of data
   14 from CREXi.” Ex. 1, Crain Report ¶ 89. During his deposition, Mr. Crain testified
   15 that he reached that value by performing arithmetic: multiplying the number of rows
   16 by the number of columns in each spreadsheet and adding up the results. Ex. 6,
   17 Crain Dep. Tr. at 209:1-6 (“It’s just rows times columns times [spreadsheets]”). He
   18 performed no analysis of the scraped data, and made no effort to deduplicate across
   19 spreadsheets. Id. at 209:7-14. Mr. Crain admitted at his deposition that he has not
   20 “really assessed” whether the data scraped was publicly available at the time of the
   21 scrape. Id. at 198:6-10, 198:20-199:8.
   22         Aside from these three sources, Mr. Crain’s Opinion 5 cites to testimony and
   23 documents from this litigation. He does not purport to apply expertise in describing
   24 these documents. See, e.g., Ex. 1, Crain Report ¶¶ 81 nn.117-18, 82 nn.120-22, 83
   25 nn.123-26, 85 nn.127-29, 86 n.130, 87 nn.131-32 (stating what deponents said).
   26 III.    LEGAL STANDARD
   27         “A witness who is qualified as an expert by knowledge, skill, experience,
   28 training, or education may testify in the form of an opinion or otherwise if: (a) the
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    1 expert’s scientific, technical, or other specialized knowledge will help the trier of
    2 fact to understand the evidence or to determine a fact in issue; (b) the testimony is
    3 based on sufficient facts or data; (c) the testimony is the product of reliable principles
    4 and methods; and (d) the expert has reliably applied the principles and methods to
    5 the facts of the case.” Fed. R. Evid. 702; see Daubert v. Merrell Dow Pharms., Inc.,
    6 509 U.S. 579, 592-94 (1993). CREXi bears the burden of proving admissibility of
    7 Mr. Crain’s expert opinion by a preponderance of the evidence. Call Delivery Sys.,
    8 LLC v. Morgan, 2022 WL 1252412, at *1 (C.D. Cal. Mar. 7, 2022).
    9         To ensure that expert testimony will be helpful to jurors and abides by the
   10 reliability requirements of Rule 702, district courts play a “gatekeeping role.”
   11 Messick v. Novartis Pharms. Corp., 747 F.3d 1193, 1197 (9th Cir. 2014). While
   12 experts may rely upon data collected by another, that “relaxation of the usual
   13 requirement of firsthand knowledge… is premised on an assumption that the
   14 expert’s opinion will have a reliable basis in the knowledge and experience of his
   15 discipline.” Daubert, 509 U.S. at 591. Relying on analysis or data collected by
   16 someone else is appropriate only when “the expert conducted an independent
   17 evaluation of that evidence.” Cholakyan v. Mercedes-Benz, USA, LLC, 281 F.R.D.
   18 534, 544 (C.D. Cal. Mar. 28, 2012) (excluding expert declaration as unreliable due
   19 to lack of validation of data by expert himself). An expert’s opinion becomes
   20 unreliable when “there is nothing in the record to indicate [the expert] has tested
   21 [the] underlying data to ensure its reliability or that [the expert] even has access to
   22 [the] underlying data.” Fosmire v. Progressive Max Ins. Co., 277 F.R.D. 625, 629
   23 (W.D. Wash. Oct. 11, 2011) (granting motion to exclude report as failing to meet
   24 reliability standard).
   25         Expert testimony must utilize an expert’s specialized knowledge in order to
   26 help the factfinder understand a subject matter “beyond the common knowledge of
   27 the average layman.” United States v. Morales, 108 F.3d 1031, 1038 (9th Cir. 1997).
   28 Experts may not present evidence that “can speak for itself” in order to make “the
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    1 same arguments that the lawyers can make based on other evidence in the case” as
    2 then the “only contribution would be to pile on a misleading façade of expertise.”
    3 Waymo LLC v. Uber Technologies, Inc., 2017 WL 5148390, at *4 (N.D. Cal. Nov.
    4 6, 2017) (excluding expert testimony under Federal Rules of Evidence 403 and 702).
    5 And while performing basic math in the process of reaching an opinion does not
    6 automatically disqualify an expert, “courts regularly exclude expert testimony where
    7 the expert engages in arithmetic, not expert analysis.”       Think20 Labs LLC v.
    8 Perkinelmer Health Scis., Inc., 2023 WL 9005633, at *4 (C.D. Cal. Nov. 30, 2023)
    9 (citation omitted) (excluding opinion as “simple arithmetic for which no expertise is
   10 required”); see also ReBath LLC v. HD Sols. LLC, 2022 WL 2527113, at *5 (D. Ariz.
   11 July 7, 2022) (excluding expert testimony on basic multiplication and noting
   12 “[c]ourts have repeatedly excluded expert testimony that involves nothing more than
   13 ‘simple math’”).
   14         Like layperson testimony, expert opinions must pass the basic threshold test
   15 of relevancy. When an expert opinion relates to a claim or defense not at issue in
   16 litigation, courts strike the opinion as irrelevant. See, e.g., In re Ford Motor Co.
   17 DPS6 Powershift Transmission Prods. Liab. Litig., 2019 WL 7177984, at *2 (C.D.
   18 Cal. Dec. 2, 2019) (reiterating concern that “expert testimony must pertain only to
   19 matters relevant to [active] claims and must not delve into matters rendered
   20 irrelevant by the dismissal of [other] claims”); Pakootas v. Teck Cominco Metals,
   21 Ltd., 2012 WL 1833397, at *1 (E.D. Wash. Apr. 4, 2012) (finding expert opinions
   22 “have been rendered irrelevant as they relate to [a] … defense which the court has
   23 dismissed”).
   24 IV.     ARGUMENT
   25         There are myriad reasons for the Court to exclude Mr. Crain’s Opinion 5. As
   26 a threshold matter, while of dubious relevance to begin with, Opinion 5 was rendered
   27 even more irrelevant by the Court’s recent denial of CREXi’s motion to add
   28 counterclaims based on CoStar’s access to and scrape of CREXi’s website. Even if
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    1 the Court finds that Opinion 5 continues to have some minimal relevance to CoStar’s
    2 claims or CREXi’s defenses, the opinion is unreliable and unhelpful to the factfinder
    3 due to Mr. Crain’s failure to verify the data he relies upon and his failure to actually
    4 apply any digital forensics expertise to provide analysis beyond summarizing the
    5 contents of data produced by the parties in this litigation which can be easily
    6 understood by a layperson.
    7         A.    The Court’s Denial Of CREXi’s Request To Add Counterclaims
                    Underscores That Mr. Crain’s Opinion 5 Is Irrelevant
    8
    9         Mr. Crain’s Opinion 5 is not really a rebuttal opinion at all, as it does not
   10 “rebut” any evidence or opinions regarding CREXi’s access to LoopNet, the subject
   11 matter of Mr. Roffman’s report, which is relevant to CREXi’s infringement of
   12 CoStar copyrighted photographs.4 Instead, it is an affirmative opinion regarding
   13 CoStar’s access to CREXi’s website, including CoStar’s one-time competitive
   14 intelligence scrape of CREXi’s API in 2020. Ex. 1, Crain Report ¶¶ 77-96. For
   15 numerous reasons, CoStar’s access to CREXi’s website has no bearing whatsoever
   16 on whether and to what extent CREXi infringed CoStar’s copyrighted images—
   17 CoStar’s core claim in this lawsuit. And given the Court’s recent denial of CREXi’s
   18 motion for leave to add new counterclaims based on this exact conduct, see Dkt. 829
   19 at 4, 10, Mr. Crain’s Opinion 5 cannot be relevant to any of CREXi’s claims in this
   20 litigation5 either, and should be excluded. See, e.g., Stop Staring! Designs v.
   21 Tatyana, LLC, 2011 WL 13124123, at *1 (C.D. Cal. Aug. 11, 2011) (holding that
   22
   23   4
          Rebuttal testimony must be “intended solely to contradict or rebut evidence on the
   24   same subject matter identified by another party.” Fed. R. Civ. P. 26(a)(2)(D)(ii).
        A rebuttal report is meant to “support[] the opposite conclusion” of the affirmative
   25   opinion. R&O Constr. Co. v. Rox Pro Int’l Grp., Ltd., 2011 WL 2923703, at *2
        (D. Nev. July 18, 2011) (citation omitted). Here, the opposite conclusion to the
   26   Roffman Report is that CREXi did not access CoStar at the rate Mr. Roffman opines,
        not that CoStar accessed CREXi as well, as Mr. Crain’s Opinion 5 states.
   27   5
          To the extent that CREXi intends to argue that the scrape is still relevant to its
        “unclean hands” defense, the scrape cannot form the premise of that defense as a
   28   matter of law. See Dkt. 833 at 19-21. Thus, Mr. Crain’s Opinion 5 is also irrelevant
        to CREXi’s defenses.
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    1 where “expert report was apparently produced prior to the dismissal of [relevant]
    2 claims,” expert could testify only regarding opinions relevant to “claims that are still
    3 in the case”).
    4         B.    Mr. Crain Does Not Apply His Expertise In Digital Forensics, Or
                    Independently Verify Any Data, To Reach Opinion 5
    5
    6         Further, Mr. Crain’s Opinion 5 should be excluded under Rule 702, Daubert,
    7 and Ninth Circuit case law because Mr. Crain did not apply his expertise in digital
    8 forensics to reach it. As set forth herein, Mr. Crain opines on three types of
    9 spreadsheets produced by the parties, which contain output from three sources:
   10 CoStar’s outbound access logs, Mixpanel, and CoStar’s scrape of CREXi’s API.6
   11 But Mr. Crain had no role in compiling this information, and did not conduct an
   12 independent analysis to test or verify it. Opinion 5 consists solely of Mr. Crain
   13 summarizing the contents of these spreadsheets or performing basic arithmetic that
   14 any layperson with a calculator could do. Thus, Mr. Crain’s Opinion 5 is not only
   15 unhelpful to the factfinder who could understand the same information from the
   16 underlying documents, but is also confusing as it improperly gives an expert’s stamp
   17 of approval to party-produced spreadsheets.
   18
                    1.     Mr. Crain Improperly Parrots Numbers From The CoStar
   19                      Outbound Log Spreadsheet Without Applying His Expertise
   20         As noted above, Mr. Crain’s Opinion 5 includes the following summary of
   21 the CoStar Outbound Log Spreadsheet: “The outbound information that CoStar
   22 produced shows 7,418 instances of access to CREXi, by almost 800 different CoStar
   23 employees, in the span of 90 days, between July 8, 2020, and October 5, 2020. Over
   24
   25
       The remainder of Mr. Crain’s Opinion 5 relies on Mr. Crain’s review of deposition
        6

   26 evidence and non-forensic data documents produced in this litigation and should be
      excluded as it is not proper for an expert to “simply parrot[] deposition evidence and
   27 exhibits produced during the pretrial process.” Edwards Lifesciences Corp. v. Meril
      Life Scis. Pvt. Ltd., 2021 WL 5407316, at *2-3 (N.D. Cal. Nov. 18, 2021) (citation
   28 omitted) (explaining further that this risks putting “‘the imprimatur of [his]
      expertise’ on the statements of other witnesses”).
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    1 that approximately three-month period, CoStar employees accessed CREXi from
    2 CoStar’s network an average of 82 times per day.” Ex. 1, Crain Report ¶ 78.
    3         Mr. Crain in no way analyzed or scrutinized this data. The entirety of his
    4 opinion is visible on the face of the spreadsheet or can be calculated using basic
    5 division. The date range covered is plainly visible in the “Date” column. The total
    6 number of instances of access (7,418) is simply the number of rows in the
    7 spreadsheet. The number of CoStar employees in the spreadsheet (almost 800) is
    8 easily calculated by counting the number of names available to filter in the “Name”
    9 column. And, the average number of site visits per day (82) is reached by dividing
   10 the number of rows (7,418) by the number of days (90) the spreadsheet covers. Id.
   11 ¶¶ 78-79. No expertise, even in Excel (and let alone in digital forensics), is required
   12 to reach the same conclusions as Mr. Crain about this spreadsheet.
   13         Because none of the information described by Mr. Crain goes beyond what a
   14 layperson can see or calculate by looking at the CoStar Outbound Log Spreadsheet,
   15 Mr. Crain’s statements are improper as expert testimony. See, e.g., United States v.
   16 Chavez, 2021 WL 5810298, at *1-2 (N.D. Cal. Dec. 7, 2021) (barring testimony
   17 from “an expert on a lay issue that is not beyond the common knowledge of the
   18 average layperson”); Fitzhenry-Russell v. Keurig Dr. Pepper Inc., 2018 WL
   19 5793479, at *3 (N.D. Cal. Nov. 2, 2018) (striking expert testimony in which expert
   20 “simply summarizes documents” produced in litigation because “those documents
   21 can speak for themselves”). Allowing CREXi to present this information to the
   22 factfinders vis-à-vis Mr. Crain would improperly give the spreadsheet’s basic
   23 contents the façade of “expert” approval. Waymo, 2017 WL 5148390, at *6
   24 (rejecting expert’s attempt to report information easily understandable from case
   25 documents as experts “‘analysis’ would not only fail to improve on the probative
   26 value of the evidence he cited but also actually muddy the uncomplicated facts with
   27 his façade of expertise”).
   28
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    1         Moreover, Mr. Crain attempts to qualify the lack of analysis in his Opinion 5
    2 by claiming that due to the limited time period of existing CoStar outbound logs, he
    3 “cannot generate a complete analysis of CoStar’s activity on CREXi’s platform,
    4 comparable to Mr. Roffman’s analysis of CREXi’s activity.” Ex. 1, Crain Report
    5 ¶ 76. But during his deposition, Mr. Crain acknowledged that CREXi’s inbound
    6 access logs (i.e., logs comparable to LoopNet logs, which are just customized
    7 inbound access logs) would be digital forensic evidence of CoStar’s access to
    8 CREXi’s website, Ex. 6, Crain Dep. Tr. at 165:13-23, 167:16-21, 168:17-19—and,
    9 presumably, could be used to generate a complete analysis of CoStar’s activity on
   10 CREXi’s platform. However, Mr. Crain went on to testify that he did not (i) consider
   11 CREXi’s inbound access logs, (ii) know whether they even exist,7 or (iii) even think
   12 to ask for this source of digital forensic evidence, despite its obvious relevance to
   13 Mr. Crain’s Opinion 5. Id. at 170:12-171:2. Mr. Crain’s choice to parrot a document
   14 from CoStar that “speaks for itself,” while not asking CREXi for the comparable
   15 evidence to which he could actually apply his expertise in digital forensics, further
   16 underscores why Mr. Crain’s Opinion 5 should be excluded.8
   17               2.     Mr. Crain Did Not Independently Verify The CREXi Mixpanel
                           Spreadsheet Or Apply His Expertise To It
   18
   19         Mr. Crain’s reliance on the spreadsheet purportedly reflecting data from
   20 Mixpanel, produced by CREXi in response to an interrogatory propounded by
   21 CoStar, is even more problematic. As set forth above, Mr. Crain claims that this
   22
   23   7
          CoStar has inquired several times regarding the existence of these inbound access
   24   logs, and CREXi has refused to answer. CREXi’s silence speaks volumes. At this
        point, without an answer from CREXi (and the implausible testimony from Mr.
   25   Crain that he did not think to ask for such logs), CoStar is forced to conclude that
        CREXi failed to preserve its inbound access logs from the relevant time period and
   26   that they no longer exist.
        8
          As noted above, Mr. Crain also summarizes—in similar fashion—a spreadsheet
   27   produced by CoStar that reflects access from the CoStar network to other third-party
        websites. There too, his reporting and summarizations do not require digital
   28   forensics expertise and are improper material to present through an expert. See also
        supra n.3.
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    1 spreadsheet reflects “access on CREXi by individuals affiliated with CoStar, or from
    2 IP addresses that CoStar has identified as ones that it used, between January 6, 2016,
    3 and January 13, 2024” and that this data “shows that at least 117 CoStar-affiliated
    4 users visited CREXi on hundreds of occasions, and that their actions triggered more
    5 than 57,287 events on CREXi’s platform.” Ex. 1, Crain Report ¶ 80.
    6         During his deposition, Mr. Crain acknowledged that he has not worked with
    7 Mixpanel before, Ex. 6, Crain Dep. Tr. at 171:22-172:22, and could not answer basic
    8 questions about its functionality. Id. at 172:23-173:9 (testifying that he was unaware
    9 of whether CREXi chooses which “events” to track in Mixpanel). CREXi, not Mr.
   10 Crain, selected which Mixpanel events to include in this spreadsheet and made the
   11 determination that the individuals in this spreadsheet were “affiliated with CoStar.”
   12 Ex. 1, Crain Report ¶ 80. When asked if he knew whether specific individuals
   13 named in the Mixpanel spreadsheet were “actually affiliated with CoStar,” Mr. Crain
   14 responded “I don’t.” Ex. 6, Crain Dep. Tr. at 182:7-9, 185:6-8. Mr. Crain testified
   15 that he did not view data in Mixpanel itself, instead only viewing the selective
   16 Mixpanel data curated into this spreadsheet by some unknown person believed to
   17 work at CREXi. Id. at 173:21-175:13 (testifying that while he “believe[d]” CREXi
   18 culled the Mixpanel data to create this spreadsheet, “I just don’t know”).
   19         Not only did Mr. Crain do nothing to verify or test the accuracy of the
   20 Mixpanel data, he appeared to disagree with the methodology of whomever at
   21 CREXi compiled it. During his deposition, when asked questions about whether the
   22 Mixpanel spreadsheet excluded access from individuals who worked for Ten-X
   23 before CoStar acquired Ten-X (and thus were not CoStar employees at the time of
   24 the access shown in the spreadsheet, and whose web traffic could not qualify as
   25 access on CREXi by individuals “affiliated with” CoStar), Mr. Crain testified that “I
   26 can’t speak for CREXi in compiling Appendix G, but I didn’t do that…. Whether
   27 they applied a date cut for, like, the acquisition, I have no idea.” Id. at 178:18-179:3.
   28 Despite not doing such analysis, Mr. Crain agreed that there would be a “basis of –
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    1 of doing that date cut.” Id. at 179:13-20. Such reliance on data that Mr. Crain has
    2 not verified or independently analyzed (and does not really understand, or—
    3 apparently—even fully agree with) is improper.            Mr. Crain’s opinion on the
    4 Mixpanel Spreadsheet should be excluded. See, e.g., Call Delivery Sys., 2022 WL
    5 1252412, at *1 (excluding report where expert “failed to conduct an independent
    6 evaluation of the evidence and independently verify the underlying facts”).
    7         The Court’s opinion in Fosmire is instructive. 277 F.R.D. 625. There, an
    8 expert based opinions on data collected by someone else for use in different
    9 litigation. Id. at 629-30. Even though that data was found reliable in another case,
   10 the Fosmire expert’s opinion was excluded because the expert had not tested the data
   11 themselves, independently verified it in any way, and did not have access to the
   12 entire dataset. Id. The same is true for Mr. Crain with respect to the Mixpanel
   13 Spreadsheet. Even worse here, Mr. Crain could have gained verifying information
   14 from CREXi but did not. He also could have, but did not, ask to view CREXi’s
   15 entire Mixpanel dataset. In fact, Mr. Crain testified that he did not speak to anyone
   16 at CREXi, for any purpose, in preparing his report. Ex. 6, Crain Dep. Tr. at 104:12-
   17 17.     Mr. Crain’s blind reliance on data collected by another is particularly
   18 inappropriate where, as here, the data was collected by an interested party—CREXi.
   19 See, e.g., Baker v. Firstcom Music, 2018 WL 2676636, at *2 (C.D. Cal. May 8, 2018)
   20 (excluding expert declaration as unreliable when the expert “failed to verify the
   21 underlying data at the core of her expert opinion independently, and simply adopted
   22 the position of [plaintiff,] an interested party” that a control group of signatures were
   23 authentic); Garcia v. Los Banos Unified Sch. Dist., 2007 WL 715526, at *15 (E.D.
   24 Cal. Mar. 8, 2007) (excluding expert opinion where expert “merely assumed that
   25 Plaintiff is credible” and “assumed the truth of Plaintiff’s representations”).
   26         Furthermore, as with CoStar’s Outbound Access Log Spreadsheet, Mr. Crain
   27 does not apply his digital forensics expertise in reporting information about the
   28 Mixpanel Spreadsheet. In fact, Mr. Crain provides no more information about the
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    1 spreadsheet than CREXi did in its relevant interrogatory response. The remarkable
    2 similarity in the language of CREXi’s interrogatory response and Mr. Crain’s expert
    3 report underscore that Opinion 5 is not proper expert opinion:
    4
                Ex. 1, Crain Report ¶ 80              Ex. 7, CREXi’s Supplemental
    5
                                                  Responses and Objections to Plaintiff’s
    6
                                                        Interrogatory No. 15, at 21
    7
    8   “CREXi also produced Mixpanel data, “Appendix G confirms ongoing and
    9   [Appendix G,] which I’ve reviewed, regular usage of CREXi by CoStar
   10   reflecting   access   on   CREXi      by employees between 2016 and 2024.
   11   individuals affiliated with CoStar… The at least 117 CoStar-affiliated users
   12   between January 6, 2016, and January reflected in Appendix G visited CREXi
   13   13, 2024. That data shows that at least on hundreds of occasions, and their
   14   117   CoStar-affiliated users      visited actions triggered more than 57,000
   15   CREXi on hundreds of occasions, and tracked events on CREXi’s website.”
   16   that their actions triggered more than
   17   57,287 tracked events on CREXi’s
   18   platform.”
   19         Mr. Crain’s copying of CREXi’s interrogatory response language resembles
   20 the expert’s mirroring of a party-affiliate’s declaration in Cholakyan. There, this
   21 Court excluded an expert’s opinion in part because the expert copy-and-pasted
   22 statements from another’s declaration, failing to demonstrate that the expert
   23 “exercised independent judgment.” 281 F.R.D. at 546. So too here, Mr. Crain’s
   24 presentation of evidence that speaks for itself without utilizing his expertise or
   25 performing any independent analysis is improper and should be excluded.
   26
   27
   28
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    1                3.    Mr. Crain’s Analysis Of The Data Scraped From CREXi Is
                           Basic Math With No Added Expertise
    2
    3         Finally, Mr. Crain relies in Opinion 5 on a set of spreadsheets produced by
    4 CoStar in this litigation reflecting the output of CoStar’s one-off competitive
    5 intelligence scrape of CREXi in 2020. Ex. 1, Crain Report ¶ 88. Mr. Crain opines
    6 that these spreadsheets indicate, cumulatively, that CoStar “scraped 70 million
    7 pieces of data from CREXi.” Id. ¶ 89. During his deposition, Mr. Crain testified
    8 that he reached that value using arithmetic: by multiplying the number of rows by
    9 the number of columns in each spreadsheet and adding up the results. Ex. 6, Crain
   10 Dep. Tr. at 209:1-6 (“I think that’s right. It’s just rows times columns....”). In other
   11 words, Mr. Crain did nothing other than report the total number of cells in the Excel
   12 files produced by CoStar. Mr. Crain did not apply his expertise in digital forensics
   13 (to the extent needed) to attempt to deduplicate the data and report the number of
   14 unique pieces of data scraped (a figure that is much lower than 70 million). Id. at
   15 209:7-14 (“No, we didn’t try to deduplicate that.”). The entirety of his analysis ends
   16 with performing basic math.
   17         Courts routinely exclude expert opinions like this one based on simple
   18 arithmetic. In ReBath, the court excluded an expert’s opinion as to disgorgement
   19 value because the number “is merely [Plaintiff’s] royalty percentage rate multiplied
   20 by the total lost revenue figure he calculated.” 2022 WL 2527113, at *5 (holding
   21 further that “[w]hile this calculation is fair game for counsel to argue,” expert
   22 testimony on it must be excluded). Counsel for CREXi may try to convince the
   23 factfinder that it is proper to quantify the “pieces of data” CoStar scraped from
   24 CREXi by, without deduplication, multiplying the number of columns by the
   25 number of rows in each spreadsheet, but that rudimentary (and misleading)
   26 quantification cannot be given the imprimatur of an expert. See Waymo, 2017 WL
   27 5148390, at *5 (excluding expert quantification resulting from “grade-school
   28
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                                                   17                       COSTAR’S MOT. TO EXCLUDE
                                                                        OPINION FIVE OF ANDREW CRAIN
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    1 arithmetic counsel can do on an easel… [because the expert’s] only contribution
    2 would be to pile on a misleading façade of expertise”).
    3 V.     CONCLUSION
    4        For the foregoing reasons, CoStar respectfully requests that the Court exclude
    5 Mr. Crain’s Opinion 5 and related testimony in its entirety.
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        Dated: September 9, 2024              Respectfully submitted,
    7
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   26                                         and CoStar Realty Information, Inc.
   27
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    1                       CERTIFICATE OF COMPLIANCE
    2        The undersigned, counsel of record for Plaintiffs and Counterdefendants
    3 CoStar Group, Inc. and CoStar Realty Information, Inc., certifies that this brief
    4 contains 5,892 words, which complies with the word limit of L.R. 11-6.1.
    5
    6   Dated: September 9, 2024              By: /s/ Nicholas J. Boyle
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